Case: 1:18-cv-06785 Document #: 456 Filed: 05/25/21 Page 1 of 1 PageID #:4974

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

In Re: Local TV Advertising Antitrust
Litigation, et al.
                                                  Plaintiff,
v.                                                             Case No.: 1:18−cv−06785
                                                               Honorable Virginia M.
                                                               Kendall
Hearst Television Inc., et al.
                                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 25, 2021:


      MINUTE entry before the Honorable Virginia M. Kendall. Alexander Galicki's
Motion to appear pro hac vice [447] is granted. Mailed notice(lk, )




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